                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case Nos. 1:02-CR-27
 vs.                                                   )
                                                       )
 TORRENCE DEWAYNE SIVELS                               )       JUDGE COLLIER


                                 MEMORANDUM AND ORDER

         The defendant appeared for a hearing before the undersigned on March 4, 2010, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant
 for Offender Under Supervision of U.S. Probation Officer Kevin Matherly and the Warrant for
 Arrest issued by Chief U.S. District Judge Curtis L. Collier. Those present for the hearing included:

                (1) AUSA Chris Poole for the USA.
                (2) Defendant TORRENCE DEWAYNE SIVELS.
                (3) Attorney Anthony Martinez for defendant.
                (4) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

        It was determined the defendant wished to be represented by an attorney and he qualified for
 the appointment of an attorney to represent him at government expense. Attorney Anthony Martinez
 of Federal Defender Services of Eastern Tennessee, Inc. was appointed to represent the defendant.
 It was determined the defendant had been provided with a copy of the Petition for Warrant for
 Offender Under Supervision and the Warrant for Arrest and had the opportunity of reviewing those
 documents with his attorney. It was also determined the defendant was capable of being able to read
 and understand the copy of the aforesaid documents he had been provided.

        Defendant waived his right to a preliminary hearing and detention hearing.

        AUSA Poole moved defendant be detained pending a hearing to determine whether his term
 of supervision should be revoked.

                                              Findings

        (1) Based upon U.S. Probation Officer Kevin Matherly’s petition and defendant’s
        waiver of preliminary hearing and detention hearing, the undersigned finds there is

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Case 1:02-cr-00027-TRM-CHS            Document 485         Filed 03/04/10     Page 1 of 2      PageID
                                            #: 222
       probable cause to believe defendant has committed violations of his conditions of
       supervised release as alleged in the petition.

                                          Conclusions

       It is ORDERED:

       (1) The defendant shall appear in a revocation hearing before Chief U.S. District
       Judge Curtis L. Collier.

       (2) The motion of AUSA Poole that defendant be DETAINED WITHOUT BAIL
       pending his revocation hearing before Judge Collier is GRANTED.

       (3) The U.S. Marshal shall transport defendant to a revocation hearing before Judge
       Collier on Thursday, April 8, 2010, at 9:00 am.

       ENTER.

       Dated: March 4, 2010                         s/William B. Mitchell Carter
                                                    UNITED STATES MAGISTRATE JUDGE




                                               2



Case 1:02-cr-00027-TRM-CHS         Document 485         Filed 03/04/10    Page 2 of 2        PageID
                                         #: 223
